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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

                                                      §
 In re:                                               §        Chapter 11
                                                      §
 LOADCRAFT INDUSTRIES, LTD.                           §        Case No. 21-11018-TMD
     Debtor                                           §


 BRADY PLANT OPERATORS , LLC, TERRY§
 MCIVER, and GILDER PRODUCTS, LLC, §
       Plaintiffs,                 §
                                   §                            Adversary No. 22-01001-TMD
 CHARLES HINKLE, ALPHONSO ENERGY, §
 LLC and GLORIOUS SPLENDOR, TOO,   §
       Defendants.                 §


                 MOTION FOR LEAVE TO INTERVENE FOR LIMITED PURPOSES

 TO THE HONORABLE TONY M. DAVIS, UNITED STATES BANKRUPTCY JUDGE:

             Loadcraft Industries, Ltd. (the "Debtor") files this Motion for Leave to Intervene for

   Limited Purposes, as follows:

            1.        Based upon the pleadings filed by the Plaintiffs in this adversary proceeding, in

 particular the " Supplemental Brief in Support of Motion for Injunctive Relief', it appears that the

 Plaintiffs are attempting to argue either that the Debtor cannot fulfill its responsibilities in the

 bankruptcy case to maximize recoveries for the Estate and continue the Debtor's business, and/or

 that this case should be dismissed. Accordingly, the Debtor seeks leave to intervene in this

 adversary proceeding for the purposes of (1) defending any argument that the underlying

 bankruptcy case should be dismissed; and (2) assuring the Court that the Debtor will act in a

 manner consistent to maximize the recovery for the creditors in the underlying bankruptcy case.

            2.        Specifically, in the Supplemental Brief, the Plaintiffs assert that if the Debtor

  remains in bankruptcy, the Debtor would not pursue proposed transactions that may be a benefit
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 to the Estate. The Plaintiffs also assert that there are default judgment creditors, which were the

 subject of ongo ing negotiations with the Debtor. C learly, examining the viability of any proposed

 sale or purpo11ed joint venture transactions or matters of the Debtor (as alleged in the Brief and

 the supporti ng proffers) is the responsibility of the Debtor, who would review and dete1mine

 whether those were in the best interest of the Estate. Similarly, the bankruptcy filing itself provides

 protections from creditors asserting a lleged judgment rights against property of the Estate. Both

 the    Declaration      of Terry    Mclver and     Luke   Collazo    implicate   the   bankruptcy     as

 "jeopardizing ... potentially lucrative deals", the details of which are only generally specified and

 for which apparently there are no s igned agreements. However, neither Mr. Mclver no Mr. Collazo,

 no counsel , have approached the Debtor with any such offers or " potentially lucrative deals" and

 the conjecture that Debtor would not fully vet and analyze any such transaction(s) is purely

 speculative and conjectural. In fact, any proposed purchaser is likely better protected in any

 transaction with an approved sales process reviewed by this Court, and the existence of default

 judgments suggests that prior management has been less than effective in managing the Debtor's

 busi ness or legal affairs.

           3.        The Debtor believes that appropriate corporate formalities were followed in

 connection with the underlying bankruptcy case. Allowing this case to proceed in Chapter 11 ,

 including the ability to quickly develop a plan of reorganization or alternative arrangements for

 the Debtor, would benefit cred itors and all parties in interest, including, presumably, the Plaintiffs.

           4.        The Debtor was not named as a party in this case. However, the subject matter of

 the adversary clearly affects the Debtor and its operations, and implicates both the ability of the

 Debtor to reorganize and continue operations in bankruptcy. Moreover, fi ling an adversary

 proceeding against non-debtor equity owners of the Debtor is not a procedurally appropriate

 mechanism to seek dismissal of the bankruptcy case for alleged lack of corporate authority for a
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 bankruptcy filing. Such action should be maintained as a motion to dismiss and contested matter

 in the main bankruptcy case.

           5.        Rule 24 of the Federal Rules of Civil Procedure, made applicable by Bankruptcy

 Rule 7024, permits a party to intervene either as a matter of right or permissibly. Deus v. Allstate

 Insurance Company, 15 F.3d 506, 525 (5 th Cir. 1994). Courts generally construe this rule broadly

 in favor of intervenors. See, e.g., John Doe No. Iv. Glickman, 256 F.3d 37 1,375 (5 th Cir. 2001)

 (intervention should be allowed when no one would be hurt and greater justice could be obtained).

           6.        A party m ay intervene as a matter of right where the party has an interest in the

 subject matter of the suit and the disposition of the suit would impair its interest. See Federal Rule

 of Civil Procedure 24(a)(2). A movant's interest in a specific fund or property is sufficient for

 allowing intervention. See Mountain Top Condo Association v. Dave Stabber! Masterbuilder, Inc. ,

 72 F.3d 36 1, 366 (3 rd Cir. 1995).        Where the outcome of a case w ill result in a "practical

 impairment" of a movant's interest, intervention is appropriate. US v. Texas E. Transmission

 Corp., 923 F.2d 410, 413 (5 th Cir. 199 1).

           7.        Debtor has an interest in continuing the underlying bankruptcy case, and in ensuring

 that the Estate is properly managed and creditors are treated fairly. Accordingly, Debtor should be

 allowed to intervene as a matter of right. Moreover, w hile the Defendants are capable of defending

 issues regard ing corporate governance, the Debtor, as the entity in bankruptcy, has the duties under

 the Bankruptcy Code. Assuming the intent is, as it appears, to obtain dismissal of the bankruptcy

 case, the outcom e of this case would impair the interests of the Estate.

           8.        Should the Court deny the intervention as a matter of right, Debtor should be

 allowed to intervene permissibly pursuant to Rule 24(b)(3). Permissive intervention is warranted

 where a movant claims share common questions of law or fact with the main lawsuit. See Federal


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 Rule of Civil Procedure 24(b)(l)(B). Clearly, the issues of the propriety of and need for the filing

 of the case and the continuation of the case are common issues.

          9.         Finally, this Motion for Leave is timely. This adversary proceeding was filed two

 weeks ago.

          10.        The Debtor's proposed Joinder is attached hereto as Exhibit "A".

               WHEREFORE, based on the foregoing, the Debtor requests that the Court grant its

 Motion for Leave to Intervene, and the Court grant such other and further relief to which the Debtor

 may be justly entitled.

                                                  Respectfully submitted,

                                                  WALLER LANSDEN DORTCH       & DA VIS, LLP

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                                                  Eric Taube (Bar No. 19679350)
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                                                   Proposed Attorneys for the Debtor and
                                                   Debtor in Possession




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                                 CERTIFICATE OF SERVICE
         I certify that on the 18th day of January, 2022, I served the foregoing on all counsel of
 record via the Court' s electronic fi ling system, including counsel listed below, as well as on the
 pa11ies listed on the attached service list via first class mail:

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                                               Mark C. Taylor




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                             EXHIBIT A
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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

                                                      §
 In re:                                               §        Chapter 11
                                                      §
 LOADCRAFT INDUSTRIES, LTD.                           §        Case No. 21 -11 0 18-TMD
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 BRADY PLANT OPERATORS, LLC, TERRY§
 MCIVER, and GILDER PRODUCTS , LLC, §
       Plaintiffs,                  §
                                    §                          Adversary No. 22-01001 -TMD
 CHARLES HINKLE, ALPHONSO ENERGY, §
 LLC and GLORIOUS SPLENDOR, TOO,    §
       Defendants.                  §


                                    LIMITED NOTICE OF JOINDER

 TO THE HONORABLE TONY M. DAVIS, UNITED STATES BANKRUPTCY JU DGE:

             Loadcraft Industries, Ltd., Limited Intervenor, files this Notice of its Joinder in the

   following pleadings filed by the Defendants in this case:

             ( 1)     Answer to Adversary Complaint (Dkt. 13); and

             (2)      Brief in Opposition to Adversary Complaint (Dkt. 14)

             This Joinder is for the purposes of (1) defending any argument that the underlying

   bankruptcy case should be dismissed or was not properly filed and (2) protecting the Estate's

   interest in max imizing recovery for the benefit of the creditors in the underlying bankruptcy

   case, and assuring the Court that the Debtor will act in the manner cons istent therewith.




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                                              Respectfully submitted,

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                                              Proposed Allorneysfor the Debtor and
                                              Debtor in Possession

                                 CERTIFICATE OF SERVICE
         I certify that on the 18 th day of January, 2022, I served the foregoing on all counsel of
 record via the Court's electronic fi ling system, including counsel listed below, as well as on the
 parties listed on the attached service list via first class mail:

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  U.S. Trustee                                         c/o Callan C. Searcy, Assistant Attorney General
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